
795 So.2d 1198 (2001)
State ex rel. Corey L. WATTS
v.
STATE of Louisiana
No. 2000-KH-2817.
Supreme Court of Louisiana.
August 31, 2001.
Writ granted in part; otherwise denied. Because R.S. 40:967(B)(4)(b) allows and requires a prohibition on parole only for "the first five years" of the sentence, relator's sentence is amended to change the prohibition on parole for the entire 15-year term to a prohibition for only five years. See State ex rel. Turner v. State, 00-2034 (La.4/12/01), 788 So.2d 1199; State v. Gardner, 99-2040 (La.12/17/99), 750 So.2d 994; State v. Malone, 31,726, p. 4 (La.App. 2d Cir.1/20/99), 728 So.2d 500, 503; State v. Hunter, 33,066, p. 11 (La. App. 2d Cir.9/27/00), 768 So.2d 687, 694. The district court is directed to make an entry in the minutes reflecting this change. *1199 In all other respects, the application is denied.
